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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
      v.                                  )                  Criminal Action No. 99-0043 (PLF)
                                          )
 JOSE MARQUEZ,                            )
                                          )
            Defendant.                    )
__________________________________________)


                                             ORDER

               This matter is before the Court on defendant Jose Marquez’s claim that he

received ineffective assistance of counsel at trial. The court of appeals remanded the ineffective

assistance of counsel issue to this Court in order for this Court to develop a “more complete

record.” See United States v. Marquez, No. 05-2112 at 2 (D.C. Cir. May 2, 2006). The Court

has done so and, for the reasons explained in the Opinion issued this same day, has concluded

that Mr. Marquez’s trial counsel was constitutionally ineffective and that Mr. Marquez is entitled

to a new trial. The remand order instructed this Court to notify the court of appeals promptly

upon the conclusion of the proceedings on remand and directed the parties to file motions in the

court of appeals to govern future proceedings within thirty days. See id. at 3. Accordingly, it is

hereby

               ORDERED that the Clerk of this Court is directed promptly to notify the Clerk of

the court of appeals of this Order and accompanying Opinion and to provide a copy to him.


                                              /s/________________________
                                              PAUL L. FRIEDMAN
DATE: August 28, 2009                         United States District Judge
